                             Case 2:21-cv-01384-RSWL-MRW Document 25-1 Filed 02/01/22 Page 1 of 2 Page ID #:122



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                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12
                       A PROFESSIONAL LAW CORPORATION
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                                                                                   UNITED STATES DISTRICT COURT
                         SANTA ANA, CALIFORNIA 92707
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                                                                                  CENTRAL DISTRICT OF CALIFORNIA
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                                                            PAGANI BEVERLY HILLS, a                         Case No.
                                                         16 California corporation.                         2:21-cv-01384 RSWL (MRWx)
                                                         17                      Plaintiff,                 Hon. Ronald S.W. Lew
                                                         18         v.
                                                                                                            [PROPOSED] ORDER GRANTING
                                                         19 CORE NEXUS LLC, DANIEL LESIN,                   STIPULATION TO CONTINUE
                                                            ALEXANDER LESIN, and DOES 1-                    TRIAL AND RELATED DATES
                                                         20 20,

                                                         21                      Defendants                 Complaint Filed: January 8, 2021
                                                                                                            Case Removed: February 16, 2021
                                                         22                                                 Trial Date:      May 17, 2022
                                                         23

                                                         24         The Parties have submitted a Joint Stipulation requesting that the presently

                                                         25   set Trial be continued to July 25, 2022, at 9:00 a.m. and Trial Related dates.

                                                         26         Having considered the Joint Stipulation and with good cause shown, IT IS

                                                         27   HEREBY ORDERED that:

                                                         28

                                                                                                      -1-
                                                                 [PROPOSED] ORDER GRANTING STIPULATION TO CONTINUE TRIAL AND RELATED DATES
                             Case 2:21-cv-01384-RSWL-MRW Document 25-1 Filed 02/01/22 Page 2 of 2 Page ID #:123



                                                          1         The presently set Discovery Cut-off deadline shall be continued from
                                                          2   February 23, 2021 to May 20, 2022 or to a later date convenient with the Court.
                                                          3

                                                          4         The presently set Expert Discovery Cut−off shall be continued from February
                                                          5   23, 2021 to May 20, 2022 or to a later date convenient with the Court.
                                                          6

                                                          7         The presently set Final Pre−Trial Conference shall be continued from April
                                                          8   23, 2022 at 10:00 AM to July 6, 2022 at 10 AM or to a later date convenient with
                                                          9   the Court.
                                                         10

                                                         11         The presently set Trial shall be continued to July 25, 2022, at 9:00 a.m.
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12
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                                                         14   IT IS SO ORDERED.
                                                         15

                                                         16   Dated:
                                                                                                        Hon. Ronald S.W. Lew
                                                         17                                             United States Magistrate Judge
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                                                                 [PROPOSED] ORDER GRANTING STIPULATION TO CONTINUE TRIAL AND RELATED DATES
